Filed 10/08/19                          Case 19-21640                               Doc 136



                               UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF CALIFORNIA
                                        CIVIL MINUTES
            _____________________________________________________________________
            Case Title: Debora Leigh Miller-      Case No.: 19-21640 - B - 11
            Zuranich
                                                  Docket Control No. DTK-1
                                                  Date: 10/08/2019
                                                  Time: 2:00 PM

            Matter: [123] - Joinder to [118] Motion/Application to Reconvert
            Case from Chapter 11 to Chapter 7 [WW-2], [118] Motion/Application to
            Dismiss Case [WW-2] Filed by Creditor Hall Mortgage Fund, LP (mfrs)
            [123] - Motion/Application to Dismiss Case [DTK-1] Filed by Creditor
            Hall Mortgage Fund, LP (mfrs)

            Judge: Christopher D. Jaime
            Courtroom Deputy: Danielle Mobley
            Reporter: Electronic Record
            Department: B
            _____________________________________________________________________
            APPEARANCES for:
            Movant(s):
            (by phone) Creditor's Attorney - Dean T. Kirby Jr.
            Respondent(s):
            Creditor's Attorney - Jonathan C. Cahill; Debtor's Attorney - Lauro
           Faliceano
            _____________________________________________________________________
                                        CIVIL MINUTES


           Motion Denied as moot
           Findings of fact and conclusions of law stated orally on the record
                 The court will issue an order.
